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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION
                       CASE NO. 07-20228-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  JUAN CARLOS VERGARA MONTES,

                Defendant.
  ____________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Edwin G. Torres,
  on March 9, 2009. A Report and Recommendation filed on April 9,
  2009 recommended that the Defendant’s plea of guilty be accepted.
  The Defendant and the Government were afforded the opportunity to
  file objections to the Report and Recommendation, however, none
  were filed. The Court has conducted a de novo review of the
  entire file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Edwin G. Torres is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Counts Five and Eight of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 12th
  day of May, 2009.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Torres
          Michel Sofia, AUSA
          Arnaldo Jesus Suri, Esq.
